Case 2:17-cv-01775-MCA-JSA Document 224-4 Filed 06/05/23 Page 1 of 7 PageID: 2116




                   EXHIBIT D
Case 2:17-cv-01775-MCA-JSA Document 224-4 Filed 06/05/23 Page 2 of 7 PageID: 2117




                              UNITED STATES DISTRICT COURT
                                 DISTRICT OF NEW JERSEY

   THOMAS ROGER WHITE, JR., and PATRICIA                   Civil Action No. 17-01775 (MCA) (JSA)
   CAULEY, on behalf of themselves and all others
   similarly situated,                                     Hon. Madeline Cox Arleo, U.S.D.J.
                                                           Hon. Jessica S. Allen, U.S.M.J.
                             Plaintiffs,
   v.                                                      Document Electronically Filed

   SAMSUNG ELECTRONICS AMERICA, INC.,                      STIPULATION AND ORDER RE:
                                                           EXPERT DISCOVERY
                              Defendant.




         The parties to the above-referenced action, through their respective counsel of record,

  hereby stipulate to the following regarding the scope of expert discovery relating to all testifying

  experts and non-testifying experts or expert consultants in this matter.

         1.      Except as provided otherwise in this Stipulation, expert discovery shall be governed

  by the Federal Rules of Civil Procedure and any other applicable rule. This Stipulation does not

  set or alter the time for any disclosure required by Federal Rule of Civil Procedure 26(a)(2)(B) or

  the timing of any deposition of any testifying expert.

         2.      To the extent that this Stipulation imposes limitations on discovery that would

  otherwise be available under the Federal Rules of Civil Procedure, the parties have agreed to those

  limitations to increase the efficiency of their dealings with testifying experts and to minimize

  discovery disputes regarding testifying experts. Neither the terms of this Stipulation nor the

  parties’ agreement to them shall be considered an admission by any person that any of the

  information restricted from discovery by this Stipulation would otherwise be discoverable or

  admissible.

         3.      Except as provided in paragraphs 5 and 6 below, the following types of information

  shall not be the subject of any form of discovery, and the parties shall not be obligated to preserve

  such information in any form or include such information on any privilege log:
Case 2:17-cv-01775-MCA-JSA Document 224-4 Filed 06/05/23 Page 3 of 7 PageID: 2118




         a. the content of oral, written, or other communications among and between:

                    i.   outside or in-house counsel and a testifying expert and/or the expert’s staff

                         and/or supporting firms;

                   ii.   outside or in-house counsel and any non-testifying expert consultant and/or

                         the consultant’s staff;

                  iii.   a testifying expert and other experts and/or other non-testifying expert

                         consultants;

                  iv.    a testifying expert and their staff and/or supporting firms;

                   v.    non-testifying expert consultants and their staffs;

                  vi.    a testifying expert and the respective staffs and/or supporting firms of other

                         experts or non-testifying expert consultants;

                 vii.    non-testifying expert consultants and the respective staffs and/or supporting

                         firms of other experts or non-testifying expert consultants; and/or

                viii.    the respective staffs and/or supporting firms of experts or non-testifying

                         expert consultants and the staffs and/or supporting firms of other experts or

                         non-testifying expert consultants.1

         b. notes, drafts, written communications, preliminary or intermediate calculations,

             computations, or other types of preliminary work created by, for, or at the direction of

             a testifying expert in connection with this matter (aside from the final written expert

             report(s) and notes generated while testifying), including copies of documents

             produced by any party bearing the notes, markings, or comments of any of the

             following persons or their staff or agents: the expert, other expert witnesses, non-

             testifying experts, consultants, or outside or in-house attorneys for the party or parties.



  1
   For avoidance of doubt, suggestions from outside counsel regarding revisions to the form of the
  expert’s report, or additional support for the expert’s ultimate opinions are examples of the kind
  of communications that, under paragraph 3(a), are not subject to discovery.


                                                    2
Case 2:17-cv-01775-MCA-JSA Document 224-4 Filed 06/05/23 Page 4 of 7 PageID: 2119




         4.      Except as provided in paragraphs 5 and 6 below, no party or their experts are

  obligated to preserve or produce budgets, invoices, bills, receipts, or time records concerning the

  work performed by testifying or non-testifying experts or consultants, their staff, assistants,

  colleagues, associates, or other agents, or their companies or organizations, relating to the report,

  testimony, or services provided in this matter.

         5.      The limitations contained in paragraphs 3 and 4 above shall not apply to any

  communications, documents, calculations, computations, or other forms of information or work

  upon which a testifying expert relies as a basis for any of his or her opinions or reports. To the

  extent a testifying expert relies on an assumption provided by outside or in-house counsel, the

  assumption and its source—but not the communication(s) between outside or in-house counsel

  and the testifying expert concerning that assumption—must be disclosed.

         6.      Notwithstanding the limitations contained in paragraphs 3 and 4 above, a testifying

  expert may be asked to respond to reasonable questions regarding the hourly rates of the expert

  and his or her staff, the amount of time an expert or that expert’s staff has spent on the expert’s

  report and associated work, and the amount of money billed for the report and associated work.

         7.      Within three business days of any party serving any expert report and/or expert

  declaration pursuant to Fed. R. Civ. P. 26(a)(2)(B) or otherwise, the party or parties proffering the

  expert witness shall produce: the documents, data, or other information relied upon by the expert

  witness in forming the expert witness’s opinions; any exhibits that will be used to summarize or

  support the expert witness’s opinions; and any work product (including but not limited to, analyses,

  spreadsheets, graphs, and charts) relied upon by the expert witness that is based on the output from

  any computer programs that are produced.2 All other disclosures required by Fed. R. Civ. P.

  26(a)(2)(B) will be served at the time of the report. “Documents, data, or other information relied

  upon” shall include underlying schedules, spreadsheets, coding, or other information sufficient to

  2
    Notwithstanding the obligation to disclose documents, data, or other information “relied on” by
  the expert witness, documents, data, or other information that is merely “considered by” the
  expert witness do not need to be disclosed.


                                                    3
Case 2:17-cv-01775-MCA-JSA Document 224-4 Filed 06/05/23 Page 5 of 7 PageID: 2120




  reconstruct the work, calculations, and/or analyses upon which the expert witness is relying for his

  or her opinions.

         8.      The information required by paragraph 7 above shall be produced electronically

  (via email, disc, or FTP site) where feasible. Data, statistical analyses, or other information

  (including any calculation or exhibit) upon which an expert relies for any of his or her opinion(s)

  in this matter shall be provided in machine readable format, including any data that has been

  cleaned, reformatted, or modified in any way from the form in which it may have been provided

  to the expert. All other documents, data, and other information relied upon shall be provided in a

  format as agreed to by the parties, along with any software and instructions required to read them,

  but no party need produce computer software that is reasonably and commercially available (e.g.,

  Microsoft Word, Excel). Documents that are publicly available need not be produced if they are

  available online for free at an internet address identified in the expert’s report/declaration.

  Documents that have previously been produced during discovery need not be produced if they are

  identified by Bates number.

         9.      Nothing herein is intended to limit the ability of any party to prepare and use

  demonstrative exhibits, including demonstrative exhibits that may relate to an expert’s testimony,

  during the course of any argument, hearing, or trial. The admissibility of any such demonstrative

  exhibits shall be subject to the Federal Rules of Evidence and the Federal Rules of Civil Procedure

  unless otherwise provided by order of the Court.

         10.     No subpoenas (for depositions or documents) need be served on any testifying

  expert from whom a report or declaration is provided. Instead, the party proffering such expert will

  (a) be responsible for producing all materials and information required by the Federal Rules of

  Civil Procedure or this Stipulation, and (b) make the expert available for deposition at a time

  mutually agreed to by the parties and consistent with the Court’s scheduling orders. To the extent
  the testifying expert is also a percipient witness, if otherwise permissible under the Federal Rules

  of Civil Procedure and the Local Rules, the opposing party is not precluded from serving a




                                                   4
Case 2:17-cv-01775-MCA-JSA Document 224-4 Filed 06/05/23 Page 6 of 7 PageID: 2121




  subpoena for depositions or documents on such witness seeking the witness’s percipient testimony

  or documents.

         11.      Nothing in this Stipulation shall permit a party or a testifying expert to withhold

  any proposition, fact, belief or other data, information, or material (including any assumption or

  source) on which the expert relies in support of her or his opinion(s) in this matter or that is

  otherwise discoverable by order of the Court.
         12.      The parties agree to comply with this Stipulation pending the Court’s approval.



         IT IS SO STIPULATED, through Counsel of Record.


  Dated: June 5, 2023



   By: s/ Mack Press                                   By: s/ Michael R. McDonald
       MACK PRESS                                          Michael R. McDonald, Esq.
       mack@mackpress.com                                  mmcdonald@gibbonslaw.com
       THE MACK FIRM                                       Brielle A. Basso, Esq.
       18 Watergate Lane                                   bbasso@gibbonslaw.com
       Patchogue, NY 11772                                 GIBBONS P.C.
       Telephone: (516) 330-7213                           One Gateway Center
                                                           Newark, NJ 07102
       BLEICHMAR FONTI & AULD LLP                          Telephone: (973) 596-4500
       Lesley E. Weaver (pro hac vice)
       Angelica M. Ornelas (pro hac vice)                 Emily Johnson Henn (pro hac vice)
       Joshua D. Samra (pro hac vice)                     COVINGTON & BURLING LLP
       1330 Broadway, Suite 630                           3000 El Camino Real
       Oakland, CA 94612                                  5 Palo Alto Square
       Tel.: (415) 445-4003                               Palo Alto, California 94306-2112
       Fax: (415) 445-4020                                Telephone: (650) 632-4700
       lweaver@bfalaw.com
       aornelas@bfalaw.com                                Attorneys for Defendant
       jsamra@bfalaw.com                                  Samsung Electronics America, Inc.

       Attorneys for Plaintiffs




                                                   5
Case 2:17-cv-01775-MCA-JSA Document 224-4 Filed 06/05/23 Page 7 of 7 PageID: 2122




  SO ORDERED:



  Dated: _______________________     _________________________________________
                                     HONORABLE JESSICA S. ALLEN
                                     UNITED STATES MAGISTRATE JUDGE




                                        6
